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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

RUSS MCCULLOUGH, et al.         :
     Plaintiffs,                :     CIVIL ACTION NO.
                                :     3:15-CV-1074 (VLB)
v.                              :
                                :     LEAD CASE
WORLD WRESTLING                 :
ENTERTAINMENT, INC.,            :
     Defendant.                 :
______________________________________________________________________

WORLD WRESTLING                          :
ENTERTAINMENT, INC.,                     :
    Plaintiff,                           :       CIVIL ACTION NO.
                                         :       3:15-CV-994 (VLB)
v.                                       :
                                         :       CONSOLIDATED CASE
ROBERT WINDHAM, THOMAS                   :
BILLINGTON, JAMES WARE, and              :
OREAL PERRAS,                            :
      Defendants.                        :


JOSEPH M. LAURINAITIS, et al.,           :
     Plaintiffs,                         :       CIVIL ACTION NO.
                                         :       3:16-CV-1209 (VLB)
v.                                       :
                                         :       CONSOLIDATED CASE
WORLD WRESTLING                          :
ENTERTAINMENT, INC. and                  :       September 29, 2017
VINCENT K. MCMAHON                       :
     Defendants.                         :


      ORDER REGARDING WWE’S MOTION FOR JUDGMENT ON THE PLEADINGS
             [DKT. NO. 205] AND WWE AND VINCENT K. MCMAHON’S
        MOTIONS TO DISMISS AND FOR SANCTIONS [DKT. NOS. 262, 266, 269]


     I.   Introduction

          Declaratory Judgment Plaintiff World Wrestling Entertainment, Inc.,

(“WWE”), brings an action for declaratory judgment (“DJ”) against DJ Defendants


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Robert Windham, Thomas Billington, James Ware, and Oreal Perras (the

“Windham Defendants”). WWE has moved for judgment on the pleadings on the

grounds that the Windham Defendants’ tort claims are time-barred under

applicable statutes of limitation and repose.

          Additionally, Defendants in the Laurinaitis action, WWE and Vincent

McMahon, have moved to dismiss the claims of the numerous wrestlers in a sixth

consolidated case before the Court. Plaintiffs in this action (the “Laurinaitis

Plaintiffs”) have filed a nineteen count complaint that spans 335 pages and

includes 805 paragraphs. WWE and McMahon have moved to dismiss this

complaint arguing, inter alia, that the complaint is rife with inaccurate allegations

and frivolous claims, and should be dismissed both on its merits and as a

sanction for failing to comply with Federal Rule of Civil Procedure 11.

          For the reasons set forth below, the Court reserves judgment on these

motions pending the filing of amended pleadings consistent with this Order.

    II.   Background

             A. Windham Action Facts

          WWE brought a DJ action against Robert Windham and three other

wrestlers in this Court on June 29, 2015, after having first been sued over a

period of months in five separate actions, three of which were class actions, in

five different venues (the “Prior Actions”). On June 2, 2015, the Windham

Defendants’ counsel sent WWE “Notice of Representation” letters on behalf of

each wrestler to WWE’s corporate headquarters in Stamford, Connecticut.

[Compl. ¶ 72]. The letters stated that “the undersigned have been retained by [DJ



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Defendants Windham, Billington, Ware, or Perras], a former WWE wrestler . . .

who was allegedly injured as a result of WWE’s negligent and fraudulent

conduct.” Id. ¶ 73. The letters went on to state that “in light of the possible

litigation involving this matter,” WWE should refrain from communicating directly

with the Windham Defendants and should preserve relevant data. Id. ¶ 73. The

Windham Defendants do not deny these allegations. [Answer ¶¶ 72-73].

      Three of the Windham Defendants are former-professional wrestlers who

previously performed for WWE. [Compl. ¶ 5]. Specifically, DJ Defendant

Windham last performed for WWE in or around 1986; DJ Defendant Billington last

performed for WWE in or around 1988; and DJ Defendant Ware last performed for

WWE in or around 1999. Id. ¶ 5. The Windham Defendants do not deny WWE’s

allegations setting the timeframes in which each DJ Wrestler performed. [See

Answer ¶¶ 5, 16-19]. DJ Defendant Perras last performed for an entity known as

Capitol Wrestling Corporation. [Compl. ¶ 5]. While the Windham Defendants

deny that Perras “last performed for an entity other than WWE and its

predecessors, they offer no factual basis for this denial. [Answer ¶ 5]. The

specifically named Windham Defendants had not complained to WWE regarding

any alleged injuries in the decades since they last performed until the June 2,

2015 letters. [Compl. ¶ 74].

      The Windham Defendants do not allege that the WWE knew of the

possibility that repeated head trauma could cause permanent neurological injury

while the wrestlers were performing, but fraudulently failed to inform them of this

danger. Moreover, even though the Windham Defendants are represented by the



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same attorneys who represent the plaintiff wrestlers six other actions, and even

though all six actions (seven including the Windham action) have been

consolidated, the Windham Defendants repeatedly deny that they have sufficient

information regarding the other wrestlers’ claims to respond to WWE’s

allegations.

      WWE moves for judgment on the pleadings arguing that the Windham

Defendants’ claims are barred by Connecticut’s statutes of limitation and repose.

The Windham Defendants counter that additional discovery is necessary before

the Court can choose to apply Connecticut law, and before the Court can

determine whether the statutes of limitation and repose have been tolled.

          B. Windham and Laurinaitis Procedural History

      The Laurinaitis action is one of six separate lawsuits against WWE filed on

behalf of former professional wrestlers asserting claims that they have sustained

traumatic brain injuries. The parties dispute the extent to which each of the

lawsuits was “filed or caused to be filed” by Attorney Konstantine Kyros, though

the verbose and inflammatory complaints in each of the first five cases are

virtually identical. Five of these lawsuits were filed in different districts in an

effort to avoid adjudication before this Court. The Laurinitis action was filed in

this district but upon assignment to Judge Eginton, the Laurinitis Plaintiffs

attempted to prevent the case from being transferred to this Court. All six cases

were transferred to this Court and consolidated to prevent courts in different

districts, and judges within this district, from coming to disparate conclusions

regarding common questions of law and fact, particularly in light of the fact that



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the lead case in this matter, which has now been dismissed, purported to be a

class action. Common facts and issues include (1) the extent of WWE’s

knowledge about the consequences of repeated head injuries; and (2) the extent

to which this knowledge was concealed from wrestlers.

      The Court considered these questions in its March 21, 2016 decision on

WWE’s motions to dismiss the complaints of plaintiffs Russ McCullough, Ryan

Sakoda, Matthew Robert Wiese, William Albert Haynes, III, Vito LoGrasso, and

Evan Singleton. It held that the statutes of limitations and repose may be tolled

only as to the fraudulent omission claim and only to the extent that the complaint

raises questions of fact regarding whether WWE owed a continuing duty to

disclose, or fraudulently concealed, information pertaining to a link between

WWE wrestling activity and permanent degenerative neurological conditions.

[Dkt. No. 116 at 25]. The Court further held that the plaintiffs had “plausibly

alleged that WWE knew as early as 2005 about research linking repeated brain

trauma with permanent degenerative disorders and that such brain trauma and

such permanent conditions could result from wrestling.” [Dkt. No. 116 at 39].

The Court then dismissed the claims of McCullough, Sakoda, Wiese, and Haynes

on the grounds that they did not allege that they wrestled for WWE on or after

2005. [Dkt. No. 116 at 68].

      Concurrently, the Windham Defendants filed a motion to dismiss the

instant DJ action. In their motion, the Windham Defendants argued that the Court

lacked subject matter jurisdiction to issue a declaratory judgment, because the

anticipated lawsuits that WWE identified were too remote and speculative to



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create a justiciable case or controversy. The Court granted the Windham

Defendants’ motion to dismiss on the grounds that it had denied WWE’s motion

to dismiss LoGrasso’s complaint.

      WWE filed a motion for reconsideration of this dismissal, arguing in part

that the Court erred when it presumed that the tolling doctrines which permitted

LoGrasso’s suit to move forward also applied to the declaratory judgment action.

In particular, WWE argued:

      “The Court’s conclusion that Plaintiff LoGrasso plausibly alleged a basis
      for tolling under the continuing course of conduct and fraudulent
      concealment exceptions was based on his allegations that WWE knew of
      information concerning a link between repeated head trauma and
      permanent neurological conditions in 2005 or later. By 2005, all of the tort
      claims threatened by the named Defendants in the Windham action would
      have been foreclosed for years because none of them had performed for
      WWE since at least 1999.”

[Dkt. No. 119-1 at 15 (citations omitted)]. The Court granted WWE’s motion for

reconsideration in part, holding that a case or controversy existed with respect to

the named DJ defendants, and holding that the application of Connecticut

procedural law was appropriate given that several related cases were already

pending in Connecticut, and that even if the Windham Defendants filed their

cases in different districts, they would likely be transferred to Connecticut. [Dkt.

No. 185 at 39-42]. The Court did not decide whether tolling the statutes of

limitation or repose would be appropriate as to the Windham Defendants.

      The Court’s March 21, 2016 decision also criticized the wrestlers’ counsel

Konstantine Kyros for filing “excessively lengthy” complaints that included

“large numbers of paragraphs that offer content unrelated to the Plaintiffs’

causes of action” and which “appear aimed at an audience other than this Court.”


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[Dkt. No. 116 at 13]. This was not the first time that the Court admonished Kyros

for his failure to comply with the pleading standard set forth in the Federal Rules

of Civil Procedure, which requires “a short and plain statement of the claim

showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2). For example,

at a June 8, 2015 scheduling conference in the Singleton action, the Court told

Kyros that the complaint was neither concise nor accurate, as it contained

language copied from other lawsuits filed by other attorneys on behalf of athletes

who played other sports, and that it included “superfluous, hyperbolic,

inflammatory opinions and references to things that don’t have any relevance,”

[Dkt. No. 263-2 at 60]. The Court further instructed Kyros to “read the federal rule,

give it some close consideration, perhaps read some cases on the pleading

standards” before filing an amended complaint. Id.

      In spite of these instructions, Kyros has now filed a 335 page complaint

with 805 paragraphs that includes numerous allegations that a reasonable

attorney would know are inaccurate, irrelevant, or frivolous. See, e.g., Dkt. No.

252 ¶¶ 51 (referencing a study published in October 2015 despite the fact that

none of the Laurinaitis Plaintiffs were still performing at that time), 108 (noting

that WWE instructed a female wrestler not to report a sexual assault she endured

while on a WWE tour despite the fact that this has no relevance to her claims

about neurological injuries or the enforceability of her booking contract), 130

(noting that WWE is a monopoly that earns $500 million annually), 157 (quoting

general observations from the book of a wrestler who is not a party to this

lawsuit), 159-161 (noting that the WWE does not provide wrestlers with health



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insurance), 289-93 (describing a fictional storyline in which a doctor claimed on

television that a wrestler who is not a Laurinaitis Plaintiff suffered a serious

concussion, when in fact he “did not have post concussion syndrome” and the

storyline was intended only to “create dramatic impact for the fans”), 302 (stating

that “100% of the four wrestlers studied to date” showed signs of chronic

traumatic encephalopathy (“CTE”) when a publicly available study published by

Bennet Omalu, a neuropatholgist mentioned elsewhere in the complaint, stated

that he examined the brains of four wrestlers and founds signs of CTE in only two

of them and therefore Plaintiffs knew that only 50% of a statistically insignificant

number of former wrestlers were found to have had CTE). Additionally, while the

Complaint devotes one long paragraph to each plaintiff, it does not specify which

claims apply to which plaintiffs or how or why they do.

    III.   Legal Standard

              A. Motion for Judgment on the Pleadings

           “After the pleadings are closed, but early enough not to delay trial, a party

may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). “A motion

for judgment on the pleadings is decided on the same standard as a motion to

dismiss under Fed. R. Civ. P. 12(b)(6).” Barnett v. CT Light & Power Co., 900 F.

Supp. 2d 224, 235 (D. Conn. 2012) (citing Hayden v. Paterson, 594 F.3d 150, 159

(2d Cir. 2010)).

              B. Motion to Dismiss

           “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its



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face.” Sarmiento v. U.S., 678 F.3d 147, 152 (2d Cir. 2012) (quoting Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)). While Rule 8 does not require detailed factual

allegations, “[a] pleading that offers ‘labels and conclusion’ or ‘formulaic

recitation of the elements of a cause of action will not do.’ Nor does a complaint

suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Iqbal, 556 U.S. 662, 678 (2009) (citations omitted). “Where a

complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

stops short of the line between possibility and plausibility of ‘entitlement to

relief.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)). “A

claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (internal citations omitted).

      In general, the Court’s review on a motion to dismiss pursuant to Rule

12(b)(6) “is limited to the facts as asserted within the four corners of the

complaint, the documents attached to the complaint as exhibits, and any

documents incorporated in the complaint by reference.” McCarthy v. Dun &

Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007). The Court may also consider

documents of which the Plaintiffs had knowledge and relied upon in bringing suit,

Brass v. American Film Technologies, Inc., 987 F.2d 142, 150 (2d Cir. 1993), so

long as these documents are “integral” to the complaint and the record is clear

that no dispute exists regarding the documents’ authenticity or accuracy,

Faulkner v. Beer, 463 F.3d 130, 133-35 (2d Cir. 2006). Due to the related claims in

the consolidated cases, and the fact that the same counsel was involved in the



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filing of each consolidated case, the allegations put forward in the consolidated

cases, as well as information uncovered during discovery in those cases, is

relevant to the Court’s decision in the DJ action and on WWE’s and McMahon’s

motions to dismiss.

          C. Motion for Sanctions

      Federal Rule of Civil Procedure 11 states that “an attorney who presents ‘a

pleading, written motion, or other paper’ to the court thereby ‘certifies’ that to the

best of his knowledge, information, and belief formed after a reasonable inquiry,

the filing is (1) not presented for any improper purpose, ‘such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation’; (2) ‘warranted by

existing law or by a nonfrivolous argument for extending, modifying, or reversing

existing law or for establishing new law’; and (3) supported in facts known or

likely to be discovered on further investigation.” Lawrence v. Richman Grp. of CT

LLC, 620 F.3d 153, 156 (2d Cir. 2010) (emphasis added) (quoting Fed. R. Civ. P.

11(b)). “If . . . the court determines that Rule 11(b) has been violated, the court

may impose an appropriate sanction on any attorney, law firm, or party that

violated the rule or is responsible for the violation.” Fed. R. Civ. P. 11(c)(1).

“[D]istrict courts generally have wide discretion in deciding when sanctions are

appropriate.” Morley v. Ciba-Geigy Corp., 66 F.3d 21, 24 (2d Cir. 1995) (quoting

Sanko Steamship Co., Ltd. v. Galin, 835 F.2d 51, 53 (2d Cir. 1987)). However,

“Rule 11 sanctions should be imposed with caution,” Knipe v. Skinner, 19 F.3d

72, 78 (2d Cir. 1994), and “district courts [must] resolve all doubts in favor of the

signer,” Rodick v. City of Schenectady, 1 F.3d 1341, 1350 (2d Cir. 1993).



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          “[N]ot all unsuccessful arguments are frivolous or warrant sanction,” and

“to constitute a frivolous legal position for purposes of Rule 11 sanction, it must

be clear under existing precedents that there is no chance of success and no

reasonable argument to extend, modify or reverse the law as it stands.” See

Mareno v. Rowe, 910 F.2d 1043, 1047 (2d Cir. 1990). With regard to factual

contentions, “sanctions may not be imposed unless a particular allegation is

utterly lacking in support.” Storey v. Cello Holdings, L.L.C., 347 F.3d 370, 388 (2d

Cir. 2003) (quoting O’Brien v. Alexander, 101 F.3d 1479, 1489 (2d Cir. 1996)).

“[T]he standard for triggering the award of fees under Rule 11 is objective

unreasonableness and is not based on the subjective beliefs of the person

making the statement.” Star Mark Mgmt., Inc. v. Koon Chun Hing Kee Soy &

Sauce Factory, Ltd., 682 F.3d 170, 177 (2d Cir. 2012) (quoting Storey, 347 F.3d at

388). This objective standard is “intended to eliminate any ‘empty-head pure-

heart’ justification” for patently unsupported factual assertions or frivolous

arguments. See Hochstadt v. New York State Educ. Dep’t, 547 F. App’x 9, 11 (2d

Cir. 2013) (quoting Gurary v. Winehouse, 235 F.3d 792, 797 (2d Cir. 2000)).

    IV.   Discussion

             A. DJ Choice of Law

          The Court applies Connecticut procedural law for the reasons set forth in

its decision on WWE’s motion for reconsideration of the Court’s order dismissing

the Windham action. [See Dkt. No. 185 at 38-40].

          In addition to the arguments addressed in that decision, the Windham

Defendants maintain that “[i]t is impossible for the Court to make a substantive

determination as a matter of law without knowing whether booking contracts
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exist for these named wrestlers, whether the purported contracts contain forum

selection clauses or choice of law provisions, and whether WWE has engaged in

any conduct that would toll the Connecticut statutes of limitation and repose

were Connecticut law to apply.” [Dkt. No. 217 at 8].

      While WWE argues that any booking contracts that exist have Connecticut

choice of law clauses, the choice of Connecticut procedural law does not depend

on the existence of such clauses. “Connecticut courts consider a statute of

limitation to be procedural, and therefore, Connecticut federal courts apply

Connecticut’s statute of limitation to common law diversity actions commenced

in Connecticut district court.” State Farm Fire & Cas. Co. v. Omega Flex, Inc., No.

14CV1456 (WWE), 2015 WL 6453084, at *2 (D. Conn. Oct. 21, 2015) (citing Doe No.

1 v. Knights of Columbus, 930 F. Supp. 2d 337, 353 (D. Conn. 2013)). The

Windham Defendants cannot in good faith assert that any booking contracts

relevant to this case would require that the procedural law of any state other than

Connecticut should apply. They similarly offer no legal authority stating that the

Court may not decide which state’s procedural law should apply before contracts

mentioned in a pleading are produced. Because in the absence of any contract,

Connecticut procedural law applies, and because the Windham Defendants

cannot deny that any contracts which do exist choose Connecticut law, the

Connecticut statutes of limitation and repose must apply.

         B. Applicability of Connecticut’s Statutes of Limitation and Repose

      Section 52-584 of the Connecticut General Statutes bars a plaintiff from

bringing a negligence claim “more than three years from the date of the act or


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omission complained of.” Conn. Gen. Stat. § 52-584. “[T]he relevant date of the

act or omission complained of, as that phrase is used in § 52-584, is the date

when the negligent conduct of the defendant occurs and . . . not the date when

the plaintiff first sustains damage.” Martinelli v. Fusi, 290 Conn. 347, 354 (2009).

Therefore, any action commenced more than three years from the date of the

negligent act or omission is barred by Section 52-584, “regardless of whether the

plaintiff could not reasonably have discovered the nature of the injuries within

that time period.” Id. (internal quotation marks omitted).

      Similarly, Section 52-577 allows a tort action to be brought within three

years “from the date of the act or omission complained of.” Conn. Gen. Stat. §

52-577. And, as with Section 52-584, operation of Section 52-577 cannot be

delayed until the cause of action has accrued, “which may on occasion bar an

action even before the cause of action accrues.” Prokolkin v. Gen. Motors Corp.,

170 Conn. 289, 297 (1976). Thus, even if the Windham Defendants did not

discover the actionable harm alleged until recently, their claims may still be

barred by the operation of the statutes of repose.

      Nonetheless, the Connecticut Supreme Court has recognized that Section

52-584 “may be tolled under the continuing course of conduct doctrine.”

Neuhaus v. DeCholnoky, 280 Conn. 190, 201 (2006). In addition, Conn. Gen. Stat.

§ 52-595 tolls any statute of limitations or repose, including Section 52-584 and

Section 52-577, if a defendant fraudulently conceals a cause of action from a

plaintiff. See Connell v. Colwell, 214 Conn. 242, 245 n.4 (1990) (concluding that

“the exception contained in § 52-595 constitutes a clear and unambiguous



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general exception to any Connecticut statute of limitations that does not

specifically preclude its application.”).

      The Connecticut statutes of repose may be tolled under the continuing

course of conduct doctrine if the defendant: “(1) committed an initial wrong upon

the plaintiff; (2) owed a continuing duty to the plaintiff that was related to the

original wrong; and (3) continually breached that duty.” Witt v. St. Vincent’s Med.

Ctr., 252 Conn. 363, 370 (2000). Where Connecticut courts have found a duty

“continued to exist after the cessation of the act or omission relied upon, there

has been evidence of either a special relationship between the parties giving rise

to such a continuing duty or some later wrongful conduct of a defendant related

to the prior act.” Macellaio v. Newington Police Dep’t, 145 Conn. App. 426, 435

(2013).

      This Court considered the applicability of Sections 584 and 577 as they

applied to consolidated case plaintiffs Singleton, LoGrasso, McCullough, Haynes,

Sakoda, and Wiese. The Court held: 

      [T]he complaints plausibly allege the existence of a continuing course of
      conduct that may toll the statutes of repose on the basis of an initial
      concern about possible long-term effects of head injuries sustained while
      wrestling that was ongoing and never eliminated. The Court also finds the
      possible existence of a special relationship based on the complaints’
      allegations of WWE’s superior knowledge as well as later wrongful conduct
      related to the initial failure to disclose. Thus, the statutes of repose may
      tolled by virtue of a continuing duty.

[Dkt. No. 116 at 42].

      The Court also held that the statutes of repose could be tolled because of

alleged fraudulent concealment pursuant to Section 52-595, which provides that

“[i]f any person, liable to an action by another, fraudulently conceals from him the

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existence of the cause of such action, such cause of action shall be deemed to

accrue against such person so liable therefor at the time when the person entitled

to sue thereon first discovers its existence.” In order to rely on Section 52-595 to

toll the statutes of limitations and repose, a plaintiff must demonstrate that “the

defendant: (1) had actual awareness, rather than imputed knowledge, of the facts

necessary to establish the cause of action, (2) intentionally concealed those facts

from the plaintiff and (3) concealed those facts for the purpose of obtaining delay

on the part of the plaintiff in filing a cause of action against the defendant.” Falls

Church Grp., Ltd. v. Tyler, Cooper & Alcorn, LLP, 281 Conn. 84, 105 (2007). The

Court held that the complaint alleged that in 2005 or later, WWE became aware of

and failed to disclose to its wrestlers information concerning a link between

repeated head trauma and permanent degenerative neurological conditions, as

well as specialized knowledge concerning the possibility that its wrestlers could

be exposed to a greater risk for such conditions.

      The Court ultimately dismissed all negligence claims to which either

exception to the statutes of limitation or repose would apply, on the grounds that

the WWE could only be held liable for reckless and intentional conduct, and not

ordinary negligence. [Dkt. No. 116 at 53-54]. The Court also dismissed the

negligent misrepresentation and fraudulent deceit claims on the grounds that the

plaintiffs failed to plead specific facts indicating that WWE made any specific

statement that it knew or should have known to be false at the time, upon which

plaintiffs reasonably relied. [Dkt. No. 116 at 61]. As the Windham Defendants

have not alleged facts to support a claim of reckless and intentional conduct or



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constituting false representations on which the Windham Defendants may have

relied, the Court considers only whether the Windham Defendants’ claims for

fraudulent omission are time barred.

      In the instant case, the Windham Defendants argue that they are not

required to put forward facts sufficient to show that the statutes of repose should

be tolled in their responsive pleading. Specifically, they argue that discovery is

required before they can identify any of the WWE’s fraudulent omissions and

whether they occurred while the Windham Defendants were still performing for

WWE. The Windham Defendants are incorrect. Pursuant to Rule 11, by filing the

DJ answer, Attorney Kyros certified that to the best of his knowledge,

information, and belief formed after a reasonable inquiry, the pleading was

supported in facts known or facts likely to be discovered on further investigation.

      A pleading cannot be filed without any factual support on vague hopes that

discovery will possibly unearth helpful facts, and the DJ answer does not

articulate any facts suggesting that discovery will uncover of facts which would

support the defenses asserted. The Court cannot consider WWE’s motion for

judgment on the pleadings in a vacuum; the Court must consider the motion in

the context of the sufficiency of the allegations of the complaints in all of the

consolidated cases. In that regard, counsel for the Windham Defendants has

been involved in the filing of six separate actions, some of which named plaintiff

wrestlers who had ceased performing for WWE well before 2005. Despite being

hundreds of pages long, in none of the complaints filed before Defendants filed

the DJ action did the wrestlers’ counsel plausibly allege that before 2005, WWE



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knew of a link between repeated head trauma and permanent degenerative

neurological conditions and fraudulently failed to disclose this link to its

performers. Nor do the Windham Defendants.

      By order entered nearly two years ago dated January 15, 2016, the Court

lifted the discovery stay and directed the parties to conduct discovery on the

questions of (1) whether WWE had or should have had knowledge of, and owed a

duty to disclose the risks of, long-term degenerative neurological conditions

resulting from concussions or mild traumatic brain injuries to wrestlers who

performed for WWE in the year 2005 or later, (2) whether and when WWE may

have breached that duty, and (3) whether such a breach, if any, continued after

Singleton, who wrestled for WWE from 2012 to 2013, and LoGrasso, who retired

in 2006, ceased performing for WWE. [Dkt. No. 107]. The Court also ordered the

parties to file dispositive motions on the issue of liability by August 1, 2016. [Dkt.

No. 107]. Thereafter, on March 21, 2016, the Court granted in part WWE’s motion

to dismiss explaining the legal standard for a continuing duty to warn, fraudulent

concealment, fraud by omission, contact sports exception, negligent

misrepresentation, and tolling the statutes of limitations and repose.

      Notwithstanding having had the opportunity to conduct discovery on the

issue of liability, and in particular if and when WWE became aware of a wrestler's

risk of contracting CTE, having filed lengthy complaints asserting innumerable

facts in the consolidate cases, and having the benefit of the court’s explication on

the applicable legal standards, the Windham Defendants have not moved to

amend their DJ answer to assert facts sufficient to support a defense that the



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statutes of limitation and repose should be tolled. Nor have they stated with any

specificity what additional discovery they need to do so. While discovery was

limited to the period which post-dated the time the Windham Defendants ceased

to wrestle for WWE, it is reasonable to conclude that if WWE did not know after

2005 that concussions or mild traumatic brain injuries sustained by wrestlers

caused long-term degenerative neurological conditions, they would not have

known it before 2005.1 Indeed in a separate lawsuit asserting the same claims,

summary judgment is fully briefed following completion of discovery, and the

56(a)(2) statement filed by plaintiffs’ counsel is devoid of any admissible evidence

that a particular agent of WWE knew before 2005 that wrestling could cause a

long-term degenerative neurological condition.

              With respect to jurisdiction and venue, the Wrestlers are in possession of

all of the information they would need to deny that they have not performed with

WWE since 1999. They presumably have their contracts, tax statements and tax

returns, and other records and documentation of their own activity. A party is not

entitled to information from an opposing party if he already has it. See Fed. R.

Civ. P. 26(b)(1) (limiting discovery to non-privileged, relevant, information that is

“proportional to the needs of the case, considering . . . the parties’ relative access

to relevant information.”); Ramos v. Town of E. Hartford, No. 3:16-CV-166 (VLB),

2016 WL 7340282, at *5 (D. Conn. Dec. 19, 2016) (denying a motion to compel

where the discovery sought was “equally available to both parties.”). The

                                                            
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  While the Laurinaitis complaint appears to assert that WWE knew before 2005 of
the risks of repeated head trauma, for the reasons discussed in Section V., infra,
the Court defers judgment on whether such allegations are legally sufficient to
permit the cases of wrestlers who retired before 2005 to proceed.
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Windham Defendants have asserted no facts establishing that they are entitled to

discovery from WWE on this issue.

      Because (1) the Court has already thoroughly evaluated the issues

presented in the consolidated cases, determining that the claims of wrestlers who

had stopped performing for WWE prior to 2005 are barred; (2) the Windham

Defendants have not offered any indication in their answer to WWE’s declaratory

judgment complaint that their anticipated claims would deviate from the claims

asserted by the plaintiffs in the earlier consolidated cases; and (3) because

additional discovery would be wasteful and unnecessary, the Court is inclined to

grant WWE’s Motion for Judgment on the Pleadings. However, in an abundance

of deference to the Windham Defendants, the Court reserves judgment on the

motion pending submission of an amended answer consistent with this order.

         C. Laurinaitis Complaint

      Despite repeatedly requesting that plaintiffs’ counsel exclude irrelevant

allegations and ensure that each claim in each consolidated case had a

reasonable factual and legal basis, this Court has, in an abundance of deference

to the wrestler plaintiffs and to the detriment of WWE, applied a liberal pleading

standard more suited to a pro se plaintiff than to a licensed attorney asserting

claims on behalf of an entire class. See Erickson v. Pardus, 551 U.S. 89, 94 (2007)

(“A document filed pro se is to be liberally construed,” and “a pro se complaint,

however inartfully pleaded, must be held to less stringent standards than

formal pleadings drafted by lawyers.”). While the Laurinaitis complaint is,

mercifully, not a carbon copy of the complaint filed in the first five consolidated



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cases, it remains unnecessarily and extremely long, with an overwhelming

number of irrelevant allegations. Parsing each of the Laurinaitis Plaintiffs’

asserted claims to figure out exactly which claims might be legally and factually

supportable would be both a waste of judicial resources. It would also be unduly

prejudicial to the WWE and McMahon, because the precise contours of the

Laurinaitis Plaintiffs’ claims are so amorphous that the WWE and McMahon

would be at a loss to determine how to defend against them.

    V.   Conclusion

         In the interests of justice, fairness to WWE and McMahon, the efficient and

effective management of the Court’s docket, in an abundance of deference to the

Windham Defendants and Laurinaitis Plaintiffs in their heretofore unsuccessful

efforts to file pleadings in conformity with the Federal Rules of Civil Procedure,

and finally, to assure disposition of this case on the merits, it is hereby ordered

that within 35 days of the date of this Order, the Windham Defendants and

Laurinaitis Plaintiffs shall file amended pleadings which comply with Federal

Rules of Civil Procedure 8 and 9 and which set forth the factual basis of their

claims or defenses clearly and concisely in separately numbered paragraphs.

Also within 35 days of the date of this Order, each of the Windham Defendants

and Laurinaitis Plaintiffs shall submit for in camera review affidavits signed and

sworn under penalty of perjury, setting forth facts within each plaintiff’s or DJ

defendant’s personal knowledge that form the factual basis of their claim or

defense, including without limitation:




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      1. the date or dates on which they wrestled for WWE or any or its

         agents or affiliates (including the first and last date);

      2. if they wrestled for more than one person and or entity, for whom

         they wrestled, and for what period of time;

      3. whether they ever signed any agreement or other document in

         connection with their engagement to wrestle by or for WWE or any of

         its agents or affiliates;

      4. whether they were ever or are now in possession of any document

         relating to their engagement to wrestle by or for WWE or any of its

         agents or affiliates, including without limitation W-4s, W-2s or 1099s;

         and

      5. what specific WWE employees or agents said or did that forms the

         basis of each and every one of the claims or defenses in the

         wrestler’s pleading, including:

            a. a reference to the specific paragraph of the complaint;

            b. when and where such act occurred or such statement was

                made;

            c. the identities of any and all the persons present at the time of

                the act or statement; and

            d. any and all other facts personally known to the affiant that

                form the basis of their belief that WWE or any or its agents or

                affiliates knew or should have known that wrestling caused

                any traumatic brain injuries, including CTE.



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The Court assumes that Attorney Kyros had a good faith belief that the

allegations in the Laurinaitis complaint and Windham answer were true based on

interviews with his clients, in which each revealed information about his or her

relationship with WWE. Counsel should therefore have no difficulty producing

these affidavits within 35 days.

      If the Windham Defendants or Laurinaitis Plaintiffs fail to comply with the

Court’s order, as set forth in the preceding paragraphs, and for the foregoing

reasons: (1) WWE’s Motion for Judgment on the Pleadings will be GRANTED,

and declaratory judgment as to the fraudulent omission claim will be entered in

favor of WWE; (2) the Laurinaitis complaint will be DISMISSED with prejudice

pursuant to Federal Rule of Civil Procedure 41(b); and (3) pursuant to Rule

11(c)(3), the Court will sua sponte revisit whether to award attorney’s fees as a

sanction on the Laurinaitis Plaintiffs’ counsel.




                                              IT IS SO ORDERED.

                                              ________/s/______________
                                              Hon. Vanessa L. Bryant
                                              United States District Judge


Dated at Hartford, Connecticut: September 29, 2017




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